PC SCAN
            Case:3:23-cv-50074
                  3:23-cv-50074Document
                               Document#:
                                        #:28
                                          23Filed:
                                             Filed:06/27/23
                                                   05/30/23Page
                                                            Page11of
                                                                  of46
                                                                     55PageID
                                                                       PageID#:193
                                                                              #:79

        IVED
            Case:


   RECE
      0/2023
                                                                  FIL0E/2D
                                                                         023
                                                                                           KRA
          5/3                                                          5/3
                 . BRUTO    N                                                  . BRUTO   N
       THOMA.SDG
               IS T R IC T COURT                                     THOMA.SDG
                                                                             IS T RIC T COURT
    CLERK, U.S                                                    CLERK, U.S
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                              23Filed:
                                 Filed:06/27/23
                                       05/30/23Page
                                                Page22of
                                                      of46
                                                         55PageID
                                                           PageID#:194
                                                                  #:80
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                              23Filed:
                                 Filed:06/27/23
                                       05/30/23Page
                                                Page33of
                                                      of46
                                                         55PageID
                                                           PageID#:195
                                                                  #:81
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                              23Filed:
                                 Filed:06/27/23
                                       05/30/23Page
                                                Page44of
                                                      of46
                                                         55PageID
                                                           PageID#:196
                                                                  #:82
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                              23Filed:
                                 Filed:06/27/23
                                       05/30/23Page
                                                Page55of
                                                      of46
                                                         55PageID
                                                           PageID#:197
                                                                  #:83
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                              23Filed:
                                 Filed:06/27/23
                                       05/30/23Page
                                                Page66of
                                                      of46
                                                         55PageID
                                                           PageID#:198
                                                                  #:84
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                              23Filed:
                                 Filed:06/27/23
                                       05/30/23Page
                                                Page77of
                                                      of46
                                                         55PageID
                                                           PageID#:199
                                                                  #:85
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                              23Filed:
                                 Filed:06/27/23
                                       05/30/23Page
                                                Page88of
                                                      of46
                                                         55PageID
                                                           PageID#:200
                                                                  #:86
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                              23Filed:
                                 Filed:06/27/23
                                       05/30/23Page
                                                Page99of
                                                      of46
                                                         55PageID
                                                           PageID#:201
                                                                  #:87
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page10
                                                     10of
                                                        of46
                                                           55PageID
                                                             PageID#:202
                                                                    #:88
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page11
                                                     11of
                                                        of46
                                                           55PageID
                                                             PageID#:203
                                                                    #:89
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page12
                                                     12of
                                                        of46
                                                           55PageID
                                                             PageID#:204
                                                                    #:90
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page13
                                                     13of
                                                        of46
                                                           55PageID
                                                             PageID#:205
                                                                    #:91
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page14
                                                     14of
                                                        of46
                                                           55PageID
                                                             PageID#:206
                                                                    #:92
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page15
                                                     15of
                                                        of46
                                                           55PageID
                                                             PageID#:207
                                                                    #:93
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page16
                                                     16of
                                                        of46
                                                           55PageID
                                                             PageID#:208
                                                                    #:94
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page17
                                                     17of
                                                        of46
                                                           55PageID
                                                             PageID#:209
                                                                    #:95
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page18
                                                     18of
                                                        of46
                                                           55PageID
                                                             PageID#:210
                                                                    #:96
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page19
                                                     19of
                                                        of46
                                                           55PageID
                                                             PageID#:211
                                                                    #:97
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page20
                                                     20of
                                                        of46
                                                           55PageID
                                                             PageID#:212
                                                                    #:98
Case:3:23-cv-50074
Case: 3:23-cv-50074Document
                   Document#:
                            #:28
                               23Filed:
                                 Filed:06/27/23
                                        05/30/23Page
                                                Page21
                                                     21of
                                                        of46
                                                           55PageID
                                                             PageID#:213
                                                                    #:99
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 22 of 55
                                                              46 PageID #:100
                                                                        #:214
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 23 of 55
                                                              46 PageID #:101
                                                                        #:215
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 24 of 55
                                                              46 PageID #:102
                                                                        #:216
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 25 of 55
                                                              46 PageID #:103
                                                                        #:217
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 26 of 55
                                                              46 PageID #:104
                                                                        #:218
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 27 of 55
                                                              46 PageID #:105
                                                                        #:219
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 28 of 55
                                                              46 PageID #:106
                                                                        #:220
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 29 of 55
                                                              46 PageID #:107
                                                                        #:221
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 30 of 55
                                                              46 PageID #:108
                                                                        #:222
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 31 of 55
                                                              46 PageID #:109
                                                                        #:223
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 32 of 55
                                                              46 PageID #:110
                                                                        #:224
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 33 of 55
                                                              46 PageID #:111
                                                                        #:225
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 34 of 55
                                                              46 PageID #:112
                                                                        #:226
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 35 of 55
                                                              46 PageID #:113
                                                                        #:227
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 36 of 55
                                                              46 PageID #:114
                                                                        #:228
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 37 of 55
                                                              46 PageID #:115
                                                                        #:229
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 38 of 55
                                                              46 PageID #:116
                                                                        #:230
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 39 of 55
                                                              46 PageID #:117
                                                                        #:231
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 40 of 55
                                                              46 PageID #:118
                                                                        #:232
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 41 of 55
                                                              46 PageID #:119
                                                                        #:233
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 42 of 55
                                                              46 PageID #:120
                                                                        #:234
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 43 of 55
                                                              46 PageID #:121
                                                                        #:235
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 44 of 55
                                                              46 PageID #:122
                                                                        #:236
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 45 of 55
                                                              46 PageID #:123
                                                                        #:237
Case: 3:23-cv-50074 Document #: 23
                                28 Filed: 05/30/23
                                          06/27/23 Page 46 of 55
                                                              46 PageID #:124
                                                                        #:238
